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By ECF                                                             December 19, 2023

The Honorable Richard M. Gergel
United States District Court
for the District of South Carolina
P.O. Box 835
Charleston, South Carolina 29402


Re: Tyco Fire Products LP v. AIU Ins. Co., et al., Civ. No. 2:23-2384 (D.S.C.)

Dear Judge Gergel:

        Further to the Court’s Scheduling Order dated October 30, 2023 (ECF 111), we write
jointly on behalf of (1) Tyco Fire Products LP (“Tyco”) and (2) American Guarantee & Liability
Insurance Company, American Zurich Insurance Company, and Zurich American Insurance
Company (the “Zurich Insurers”) to inform the Court that Tyco and the Zurich Insurers have
reached a settlement-in-principle. 1 This settlement-in-principle must be finalized through a
formal written agreement, which Tyco and the Zurich Insurers expect to finalize expeditiously.
Pursuant to the settlement-in-principle, once a formal agreement is finalized, Tyco will dismiss
the Zurich Insurers from this action, with prejudice.

       Tyco and the Zurich Insurers also agree that their respective discovery obligations in
respect to one another in this action shall be suspended while they work to finalize their
settlement agreement.

       In the event that Tyco and the Zurich Insurers are unable to finalize their written
settlement agreement, they will jointly and promptly report to the Court with a further update
and proposed course of action. Tyco and the Zurich Insurers agree that this development is
wholly without prejudice to, and should have no impact upon the case schedule or discovery
deadlines in respect to any other issues or insurers.




1 The Zurich Insurers do not include Zurich American Insurance Company (“ZAIC”) in its

capacity as successor-in-interest to certain underwriting companies, including but not limited to
Zurich Insurance Company, U.S. Branch, which is responsible for Policy No. 89 35 351 and a
certain other policy allegedly issued in 1979, in respect to which ZAIC is represented by separate
counsel from the Zurich Insurers.
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                                                                Respectfully submitted,



                                                                /s/ Allan B. Moore

                                                                Allan B. Moore

                                                                Counsel for Tyco Fire
                                                                Products LP

cc     Counsel for All Parties (via ECF)
